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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Stefon Harrison v. Ronald                  Case Number: 20 CV 2918
Watts, et al.

An appearance is hereby filed by the undersigned as attorney for:
City of Chicago, Philip Cline, Debra Kirby and Karen Rowan

Attorney name (type or print): Daniel M. Noland

Firm:     Reiter Burns LLP

Street address:         311 S. Wacker Dr., Suite 5200

City/State/Zip:     Chicago, IL 60606

Bar ID Number: 6231175                                 Telephone Number:           312 982-0090
(See item 3 in instructions)

Email Address: dnoland@reiterburns.com

Are you acting as lead counsel in this case?                                     Yes           No

Are you acting as local counsel in this case?                                    Yes           No

Are you a member of the court’s trial bar?                                       Yes           No

If this case reaches trial, will you act as the trial attorney?                  Yes           No

If this is a criminal case, check your status.                    Retained Counsel
                                                                  Appointed Counsel
                                                                  If appointed counsel, are you a
                                                                      Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.


Executed on June 26, 2020

Attorney signature:        S/ Daniel M. Noland
                           (Use electronic signature if the appearance form is filed electronically.)
                                                                                           Revised 8/1/2015
